






NO. 07-04-0108-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



MARCH 1, 2006



______________________________




ISIDRO MARTINEZ RAMIREZ, APPELLANT



v.



PROPERTY OFFICER DIETZ, ET AL., APPELLEES




_________________________________



FROM THE 237TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-525,063; HON. SAM MEDINA, PRESIDING



_______________________________



Before QUINN, C.J., CAMPBELL, J., and BOYD, S.J. (1)

MEMORANDUM OPINION


	In the suit giving rise to this appeal, appellant Isidro Martinez Ramirez, an inmate
incarcerated in the Institutional Division of the Texas Department of Criminal Justice
(TDCJ),  appearing pro se and in forma pauperis, sought recovery for damaged and/or lost
property that allegedly occurred during his transfer to the Montford Unit of the TDCJ. 
Specifically, he sought recovery in the amount of $268 for the loss of his prescription
eyeglasses and $100 damages for his "loss and injury" allegedly caused by appellees Dietz
and Duffy.  In addition, he sought recovery of $82 under the Texas Theft Liability Act, see
§§134.001 et seq. of the Texas Civil Practice and Remedies Code (Vernon 2005), and
$650 in punitive damages, making a total of $1,100 sought by him in the suit.

	In response to appellant's suit, the Attorney General of Texas filed a plea to the
jurisdiction of the trial court asserting that the true amount in controversy was the $268
value of the eyeglasses, which is less than the $500 the Attorney General asserts is the
jurisdictional minimum limit of the district courts in Texas.  In supporting that theory, the
Attorney General asserted that appellant "has provided no statute that allows for treble
damages" and "punitive damages are not appropriate for Ramirez's damaged or lost
property."  The trial court granted that plea and dismissed the suit on March 1, 2004. 
Hence, this appeal. 

	Because the first obligation of an appellate court is to determine its jurisdiction to
consider an appeal, we must initially consider the jurisdictional minimum of the trial court. 
Historically, a district court's minimum jurisdictional amount was $500, as set out by article
1906 of the Revised Civil Statutes of Texas. (2)  That statutory provision was omitted when
article 1906 was codified into the Government Code because it duplicated the constitution's
jurisdictional grant.  Tex. Gov't Code Ann. §24.007 revisor's note (Vernon 2004).  However,
the district court's constitutional minimum amount-in-controversy jurisdiction was deleted as
a part of the 1985 amendment of article V, § 8 of the state constitution.  In pertinent part,
that section now states:  "District court jurisdiction consists of exclusive, appellate, and
original jurisdiction of all actions, proceedings, and remedies, except in cases where
exclusive, appellate, or original jurisdiction may be conferred by this Constitution or other
law on some other court, tribunal, or administrative body . . . ." (3)

	There is a division in the Courts of Appeal as to the effect of the deletion of the former
stated amount of the minimum amount-in-controversy jurisdiction of the district courts.  For
example, in Arteaga v. Jackson, 994 S. W. 2d 342 (Tex. App.-Texarkana 1999, pet.
denied), the court considered that the effect of the deletion of the former specific statement
of the amount of the district court's minimum amount-in-controversy as being $500 was to
reduce that minimum jurisdictional amount to $200.01.  Id.  In reaching that conclusion, the
court referred to the article V, §19 provision of our state constitution which expressly gives
the justice courts exclusive jurisdiction in cases in which the amount in controversy is "two
hundred dollars or less . . . ."  Tex. const.  art. V, §19.  That being the only authorization of
exclusive jurisdiction in a court other than the district court, the Arteaga court reasoned that
under the present statutes, because of the deletion of any specific minimum amount coupled
with the provision as to the exclusive jurisdiction of the justice court in amounts less than
$200,  the minimum amount-in-controversy jurisdiction of the district court was $200.01. 
Arteaga v. Jackson, 999 S.W.2d at 342; see also Arnold v. West Bend Co.,  983 S.W.2d
365, 366, n.1 (Tex. App.-Houston [1st Dist.] 1998, no pet.).  

	However, in Chapa v. Spivey, 999 S.W.2d 833 (Tex. App.-Tyler 1999, no pet.), the
court determined that the minimum amount-in-controversy jurisdiction of the district court
was still $500.  Id. at 836.  In arriving at that conclusion, the court considered in some detail
the legislative history of the deletion of a specific minimum amount-in-controversy in the
1985 amendment of article V, §8 of our state constitution and in the ensuing enactment of
section 24.007 of the Government Code, in the light of the expressed legislative intent in the
enactment of the current version that "no substantive change in the law is intended."  It then
concluded that "the 1985 recodification including section 24.007 and the 1985 amendment
to article V, section 8 did not change the minimum jurisdictional amount in controversy
requirement of district courts." The difference between the conflicting courts of appeal
decisions has not yet been resolved by our supreme court.   

	 In Nelson v. United States Postal Serv.,No. 07-03-0050 CV, 2003 Tex. App. LEXIS
7833 at *4-5 (Tex. App.-Amarillo September 5, 2003, no pet.), this court held that the
Arteaga rationale was applicable and that the minimum jurisdictional amount of the district
court is  $200.  In the instant proceeding, appellant seeks a recovery in a total amount of
$1,100.  However, his alleged damages in excess of the $268 value of the eyeglasses are
punitive in nature.  We agree with the State that these alleged damages are subject to the
limitations contained within the Texas Tort Claims Act including the statutory cap on
damages recovery, indemnification, the non-availability of punitive damages, and the non-availability of attorney fees.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §§101.001 et seq.
(Vernon 2005).  Even so, inasmuch as his alleged damages of $268 are in excess of the
$200 minimum amount in controversy which we have determined is applicable, the trial court
did have jurisdiction to consider this dispute.

	Accordingly, we must, and do hereby, reverse the judgment of the trial court and
remand this cause for further proceedings.  


							John T. Boyd

						          Senior Justice
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. 
Tex. Gov't Code Ann. §75.002(a)(1) (Vernon 2005). 
2. Codified as Tex. Gov't Code Ann. §24.007, Act of May 17, 1985, 69th Leg., R.S., ch.
480,  §1, 1985 Tex. Gen. Laws 1745, amended by Act of April 30, 1987, 70th Leg., R.S., ch.
148,  §1.36, 1987 Tex. Gen. Laws 538.
3. There is an extensive discussion of this history in Arnold v. West Bend Co., 983
S.W.2d 365, 366 n.1 (Tex. App.--Houston [1st Dist.] 1998, no pet.).  In that opinion, and in
dicta, the court expressed the opinion that the district court's minimum amount-in-controversy was $200.01.  Id.


